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  Area Name          District Name                Site Name
CAPITAL METRO          ATLANTA                ATLANTA GA P&DC
CAPITAL METRO          ATLANTA            NORTH METRO GA P&DC
CAPITAL METRO          ATLANTA              PEACHTREE GA P&DC
CAPITAL METRO         BALTIMORE               BALTIMORE MD IMF
CAPITAL METRO         BALTIMORE             BALTIMORE MD P&DC
CAPITAL METRO         BALTIMORE          EASTERN SHORE MD P&DF
CAPITAL METRO          CAPITAL            CURSEEN/MORRIS P&DC
CAPITAL METRO          CAPITAL            GOVERNMENT MAILS D.C.
CAPITAL METRO          CAPITAL               SOUTHERN MD P&DC
CAPITAL METRO          CAPITAL               SUBURBAN MD P&DC
CAPITAL METRO    GREATER S CAROLINA        CHARLESTON SC P&DF
CAPITAL METRO    GREATER S CAROLINA          COLUMBIA SC P&DC
CAPITAL METRO    GREATER S CAROLINA         GREENVILLE SC P&DC
CAPITAL METRO       GREENSBORO             GREENSBORO NC P&DC
CAPITAL METRO       GREENSBORO                RALEIGH NC P&DC
CAPITAL METRO       GREENSBORO            ROCKY MOUNT NC P&DF
CAPITAL METRO       MID-CAROLINAS           CHARLOTTE NC P&DC
CAPITAL METRO       MID-CAROLINAS         FAYETTEVILLE NC ANNEX
CAPITAL METRO       MID-CAROLINAS          FAYETTEVILLE NC P&DC
CAPITAL METRO       MID-CAROLINAS          MID-CAROLINA NC P&DC
CAPITAL METRO     NORTHERN VIRGINIA            DULLES VA P&DC
CAPITAL METRO     NORTHERN VIRGINIA         MERRIFIELD VA P&DC
CAPITAL METRO         RICHMOND                NORFOLK VA P&DC
CAPITAL METRO         RICHMOND              RICHMOND VA P&DC_1
  EASTERN            APPALACHIAN           CHARLESTON WV P&DC
  EASTERN            APPALACHIAN              ROANOKE VA P&DC
  EASTERN       CENTRAL PENNSYLVANIA        HARRISBURG PA P&DC
  EASTERN       CENTRAL PENNSYLVANIA        LANCASTER PA P&DC
  EASTERN       CENTRAL PENNSYLVANIA      LEHIGH VALLEY PA P&DF
  EASTERN       CENTRAL PENNSYLVANIA         SCRANTON PA P&DF
  EASTERN         EASTERN AREACLUS          PHILADELPHIA PA NDC
  EASTERN            KENTUCKIANA              EVANSVILLE IN MPA
  EASTERN            KENTUCKIANA             EVANSVILLE IN P&DF
  EASTERN            KENTUCKIANA             LEXINGTON KY P&DC
  EASTERN            KENTUCKIANA              LOUISVILLE ANNEX
  EASTERN            KENTUCKIANA             LOUISVILLE KY P&DC
  EASTERN            KENTUCKIANA              PADUCAH KY P&DF
  EASTERN          NORTHERN OHIO               AKRON OH P&DC
  EASTERN          NORTHERN OHIO         CLEVELAND OH FSS ANNEX
  EASTERN          NORTHERN OHIO            CLEVELAND OH P&DC
  EASTERN          NORTHERN OHIO               TOLEDO OH P&DC
  EASTERN          NORTHERN OHIO          YOUNGSTOWN OH P&DF
  EASTERN            OHIO VALLEY             CINCINNATI OH P&DC
  EASTERN            OHIO VALLEY         COLUMBUS OH FSS ANNEX
  EASTERN            OHIO VALLEY             COLUMBUS OH P&DC
  EASTERN            OHIO VALLEY               DAYTON OH P&DC
  EASTERN           PHILADELPHIA           PHILADELPHIA PA P&DC
  EASTERN           SOUTH JERSEY             DELAWARE DE P&DC
  EASTERN           SOUTH JERSEY            SOUTH JERSEY P&DC
  EASTERN           SOUTH JERSEY              TRENTON NJ P&DC
  EASTERN             TENNESSEE           CHATTANOOGA TN P&DC
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 EASTERN           TENNESSEE               JOHNSON CITY TN P&DF
 EASTERN           TENNESSEE                  KNOXVILLE TN P&DC
 EASTERN           TENNESSEE                   MEMPHIS TN P&DC
 EASTERN           TENNESSEE                   MUSIC CITY ANNEX
 EASTERN           TENNESSEE                  NASHVILLE TN P&DC
 EASTERN       WESTERN NEW YORK                BUFFALO NY P&DC
 EASTERN       WESTERN NEW YORK      NORTHWEST ROCHESTER NY P&DC
 EASTERN       WESTERN NEW YORK              ROCHESTER NY P&DC
 EASTERN      WESTERN PENNSYLVANIA             ALTOONA PA P&DF
 EASTERN      WESTERN PENNSYLVANIA                ERIE PA P&DC
 EASTERN      WESTERN PENNSYLVANIA          JOHNSTOWN PA P&DF
 EASTERN      WESTERN PENNSYLVANIA      PENNWOOD PLACE PA P&DC
 EASTERN      WESTERN PENNSYLVANIA          PITTSBURGH PA P&DC
GREAT LAKES      CENTRAL ILLINOIS          CAROL STREAM IL P&DC
GREAT LAKES      CENTRAL ILLINOIS             FOX VALLEY IL P&DC
GREAT LAKES      CENTRAL ILLINOIS                PEORIA IL P&DF
GREAT LAKES      CENTRAL ILLINOIS        SOUTH SUBURBAN IL P&DC
GREAT LAKES         CHICAGO              CARDISS COLLINS IL P&DC
GREAT LAKES         CHICAGO              CHICAGO IL INTL SVC CTR
GREAT LAKES          DETROIT                   DETROIT MI P&DC
GREAT LAKES          DETROIT            MICHIGAN METROPLEX P&DC
GREAT LAKES         GATEWAY                   CHAMPAIGN IL P&DF
GREAT LAKES         GATEWAY                MID MISSOURI MO P&DF
GREAT LAKES         GATEWAY                 SAINT LOUIS MO P&DC
GREAT LAKES         GATEWAY                  SPRINGFIELD IL P&DC
GREAT LAKES      GREATER INDIANA            FORT WAYNE IN P&DC
GREAT LAKES      GREATER INDIANA                  GARY IN P&DC
GREAT LAKES      GREATER INDIANA             INDIANAPOLIS IN MPA
GREAT LAKES      GREATER INDIANA            INDIANAPOLIS IN P&DC
GREAT LAKES      GREATER INDIANA                MUNCIE IN P&DF
GREAT LAKES      GREATER INDIANA             SOUTH BEND IN P&DF
GREAT LAKES     GREATER MICHIGAN          GRAND RAPIDS MI ANNEX
GREAT LAKES     GREATER MICHIGAN           GRAND RAPIDS MI P&DC
GREAT LAKES     GREATER MICHIGAN          IRON MOUNTAIN MI P&DF
GREAT LAKES     GREATER MICHIGAN               LANSING MI P&DC
GREAT LAKES     GREATER MICHIGAN          TRAVERSE CITY MI P&DF
GREAT LAKES         LAKELAND                  GREEN BAY WI P&DC
GREAT LAKES         LAKELAND                   MADISON WI P&DC
GREAT LAKES         LAKELAND                 MILWAUKEE WI P&DC
GREAT LAKES         LAKELAND                   PALATINE IL P&DC
GREAT LAKES         LAKELAND                   WAUSAU WI P&DF
NORTHEAST            ALBANY                     ALBANY NY P&DC
NORTHEAST            ALBANY                   SYRACUSE NY P&DC
NORTHEAST          CARIBBEAN                  SAN JUAN PR P&DC
NORTHEAST      CONNECTICUT VALLEY             HARTFORD CT P&DC
NORTHEAST      CONNECTICUT VALLEY             SOUTHERN CT P&DC
NORTHEAST      CONNECTICUT VALLEY            SPRINGFIELD MA NDC
NORTHEAST       GREATER BOSTON                 BOSTON MA P&DC
NORTHEAST       GREATER BOSTON               BROCKTON MA P&DC
NORTHEAST       GREATER BOSTON        CENTRAL MASSACHUSETTS P&DC
NORTHEAST       GREATER BOSTON          MIDDLESEX-ESSEX MA P&DC
NORTHEAST       GREATER BOSTON               PROVIDENCE RI P&DC
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NORTHEAST         LONG ISLAND              MID ISLAND NY P&DC
NORTHEAST         LONG ISLAND         WESTERN NASSAU NY P&DC
NORTHEAST       NEW YORK CITY               MORGAN NY P&DC
NORTHEAST    NORTHEAST AREACLUS            NEW JERSEY NJ IMF
NORTHEAST    NORTHEAST AREACLUS                  NY ISC-JFK
NORTHEAST   NORTHERN NEW ENGLAND          BURLINGTON VT P&DF
NORTHEAST   NORTHERN NEW ENGLAND        EASTERN MAINE ME P&DF
NORTHEAST   NORTHERN NEW ENGLAND             MANCHESTER NH
NORTHEAST   NORTHERN NEW ENGLAND         SOUTHERN MAINE P&DC
NORTHEAST   NORTHERN NEW ENGLAND     WHITE RIVER JUNCTION VT P&DC
NORTHEAST    NORTHERN NEW JERSEY                DVD NJ P&DC
NORTHEAST    NORTHERN NEW JERSEY      NORTHERN NJ METRO P&DC
NORTHEAST           TRIBORO                BROOKLYN NY P&DC
NORTHEAST        WESTCHESTER              MID HUDSON NY P&DC
NORTHEAST        WESTCHESTER            WESTCHESTER NY P&DC
  PACIFIC          BAY-VALLEY               OAKLAND CA P&DC
  PACIFIC          BAY-VALLEY               SAN JOSE CA P&DC
  PACIFIC          HONOLULU                    BARRIGADA GU
  PACIFIC          HONOLULU                 HONOLULU HI P&DC
  PACIFIC         LOS ANGELES              LOS ANGELES CA ISC
  PACIFIC         LOS ANGELES            LOS ANGELES CA P&DC
  PACIFIC         SACRAMENTO                 FRESNO CA P&DC
  PACIFIC         SACRAMENTO                 REDDING CA MPF
  PACIFIC         SACRAMENTO             SACRAMENTO CA P&DC
  PACIFIC          SAN DIEGO              ML SELLERS CA P&DC
  PACIFIC          SAN DIEGO            MORENO VALLEY CA DDC
  PACIFIC          SAN DIEGO           SAN BERNARDINO CA P&DC
  PACIFIC       SAN FRANCISCO                    EUREKA CA
  PACIFIC       SAN FRANCISCO              NORTH BAY CA P&DC
  PACIFIC       SAN FRANCISCO           SAN FRANCISCO CA P&DC
  PACIFIC          SANTA ANA                 ANAHEIM CA P&DF
  PACIFIC          SANTA ANA                NORTH GRAND DDC
  PACIFIC          SANTA ANA               SANTA ANA CA P&DC
  PACIFIC       SIERRA COASTAL           BAKERSFIELD CA P&DC
  PACIFIC       SIERRA COASTAL                PASADENA MPA
  PACIFIC       SIERRA COASTAL         SANTA BARBARA CA P&DC
  PACIFIC       SIERRA COASTAL          SANTA CLARITA CA P&DC
  PACIFIC       SIERRA COASTAL          VAN NUYS CA FSS ANNEX
SOUTHERN            ALABAMA              BIRMINGHAM AL ANNEX
SOUTHERN            ALABAMA               BIRMINGHAM AL P&DC
SOUTHERN            ALABAMA                HUNTSVILLE AL P&DF
SOUTHERN            ALABAMA                   MOBILE AL P&DC
SOUTHERN            ALABAMA              MONTGOMERY AL P&DC
SOUTHERN           ARKANSAS              FAYETTEVILLE AR P&DF
SOUTHERN           ARKANSAS               LITTLE ROCK AR P&DC
SOUTHERN             DALLAS                   DALLAS TX P&DC
SOUTHERN             DALLAS              NORTH TEXAS TX P&DC
SOUTHERN          FORT WORTH                 ABILENE TX P&DF
SOUTHERN          FORT WORTH                AMARILLO TX P&DF
SOUTHERN          FORT WORTH             FORT WORTH TX P&DC
SOUTHERN          FORT WORTH                LUBBOCK TX P&DF
SOUTHERN         GULF ATLANTIC              AUGUSTA GA P&DF
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SOUTHERN      GULF ATLANTIC              GAINESVILLE FL P&DF
SOUTHERN      GULF ATLANTIC             JACKSONVILLE FL P&DC
SOUTHERN      GULF ATLANTIC                 MACON GA P&DC
SOUTHERN      GULF ATLANTIC            MACON SOUTH ANNEX GA
SOUTHERN      GULF ATLANTIC              PENSACOLA FL P&DC
SOUTHERN      GULF ATLANTIC             TALLAHASSEE FL P&DF
SOUTHERN         HOUSTON                  BEAUMONT TX P&DF
SOUTHERN         HOUSTON              NORTH HOUSTON TX P&DC
SOUTHERN         LOUISIANA              BATON ROUGE LA P&DC
SOUTHERN         LOUISIANA                LAFAYETTE LA P&DF
SOUTHERN         LOUISIANA              NEW ORLEANS LA P&DC
SOUTHERN         LOUISIANA              SHREVEPORT LA P&DC
SOUTHERN        MISSISSIPPI                 GRENADA MS CSF
SOUTHERN        MISSISSIPPI               GULFPORT MS P&DC
SOUTHERN        MISSISSIPPI              HATTIESBURG MS PO
SOUTHERN        MISSISSIPPI                JACKSON MS P&DC
SOUTHERN        OKLAHOMA               OKLAHOMA CITY OK P&DC
SOUTHERN        OKLAHOMA                     TULSA OK P&DC
SOUTHERN        RIO GRANDE                   AUSTIN TX P&DC
SOUTHERN        RIO GRANDE            CORPUS CHRISTI TX P&DC
SOUTHERN        RIO GRANDE                  EL PASO TX P&DC
SOUTHERN        RIO GRANDE                   MCALLEN TX PO
SOUTHERN        RIO GRANDE                  MIDLAND TX P&DF
SOUTHERN        RIO GRANDE              SAN ANTONIO TX P&DC
SOUTHERN      SOUTH FLORIDA                   MIAMI FL P&DC
SOUTHERN      SOUTH FLORIDA              ROYAL PALM FL P&DC
SOUTHERN      SOUTH FLORIDA           WEST PALM BEACH FL P&DC
SOUTHERN         SUNCOAST                FORT MYERS FL P&DC
SOUTHERN         SUNCOAST                 MANASOTA FL P&DC
SOUTHERN         SUNCOAST                  MID-FLORIDA P&DC
SOUTHERN         SUNCOAST                  ORLANDO FL P&DC
SOUTHERN         SUNCOAST                 SEMINOLE FL P&DC
SOUTHERN         SUNCOAST                    TAMPA FL P&DC
WESTERN            ALASKA                ANCHORAGE AK P&DC
WESTERN            ALASKA                     JUNEAU AK PO
WESTERN           ARIZONA              ALBUQUERQUE NM P&DC
WESTERN           ARIZONA                  PHOENIX AZ P&DC
WESTERN           ARIZONA                   TUCSON AZ P&DC
WESTERN           ARIZONA               WEST VALLEY AZ P&DC
WESTERN       CENTRAL PLAINS            GRAND ISLAND NE P&DF
WESTERN       CENTRAL PLAINS                LINCOLN NE P&DF
WESTERN       CENTRAL PLAINS               NORFOLK NE P&DF
WESTERN       CENTRAL PLAINS               NORTH PLATTE NE
WESTERN       CENTRAL PLAINS                OMAHA NE P&DC
WESTERN       CENTRAL PLAINS                WICHITA KS P&DC
WESTERN       COLO./WYOMING                  CASPER WY PO
WESTERN       COLO./WYOMING              CHEYENNE WY P&DC
WESTERN       COLO./WYOMING          COLORADO SPRINGS CO P&DC
WESTERN       COLO./WYOMING                 DENVER CO P&DC
WESTERN       COLO./WYOMING              GRAND JUNCTION CO
WESTERN       COLO./WYOMING                ROCK SPRINGS WY
WESTERN           DAKOTAS                  BILLINGS MT P&DC
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WESTERN             DAKOTAS                     BISMARCK ND
WESTERN             DAKOTAS              DAKOTA CENTRAL SD P&DC
WESTERN             DAKOTAS                     FARGO ND ASF
WESTERN             DAKOTAS                   FARGO ND P&DC
WESTERN             DAKOTAS                   GRAND FORKS ND
WESTERN             DAKOTAS                   GREAT FALLS MT
WESTERN             DAKOTAS                    MINOT ND P&DF
WESTERN             DAKOTAS                      MISSOULA MT
WESTERN             DAKOTAS                 RAPID CITY SD P&DF
WESTERN             DAKOTAS                    SIOUX FALLS SD
WESTERN            HAWKEYE                 CEDAR RAPIDS IA P&DC
WESTERN            HAWKEYE                  DES MOINES IA P&DC
WESTERN            HAWKEYE                  QUAD CITIES IL P&DF
WESTERN            HAWKEYE                  WATERLOO PLANT IA
WESTERN           MID-AMERICA            CAPE GIRARDEAU MO P&DF
WESTERN           MID-AMERICA              KANSAS CITY MO P&DC
WESTERN           MID-AMERICA                 SPRINGFIELD MO
WESTERN          NEVADA-SIERRA              LAS VEGAS NV P&DC
WESTERN          NEVADA-SIERRA                 RENO NV P&DC
WESTERN           NORTHLAND                       BEMIDJI MN
WESTERN           NORTHLAND                   DULUTH MN P&DF
WESTERN           NORTHLAND                 EAU CLAIRE WI P&DF
WESTERN           NORTHLAND                  MANKATO MN P&DF
WESTERN           NORTHLAND                MINNEAPOLIS MN P&DC
WESTERN           NORTHLAND                   SAINT CLOUD MN
WESTERN           NORTHLAND              SAINT PAUL MN P&DC - NEW
WESTERN            PORTLAND                     BEND OR P&DF
WESTERN            PORTLAND                   EUGENE OR P&DF
WESTERN            PORTLAND                      MEDFORD OR
WESTERN            PORTLAND                 PORTLAND OR P&DC
WESTERN          SALT LAKE CITY                    BOISE ID
WESTERN          SALT LAKE CITY                 POCATELLO ID
WESTERN          SALT LAKE CITY                   PROVO UT
WESTERN          SALT LAKE CITY            SALT LAKE CITY UT ASF
WESTERN          SALT LAKE CITY           SALT LAKE CITY UT P&DC
WESTERN             SEATTLE                SEATTLE WA DDC-EAST
WESTERN             SEATTLE                  SEATTLE WA P&DC
WESTERN             SEATTLE                    SOUTH WA DDC
WESTERN             SEATTLE                  SPOKANE WA P&DC
WESTERN             SEATTLE                  TACOMA WA P&DC
WESTERN             SEATTLE                   WENATCHEE WA
WESTERN             SEATTLE                    YAKIMA WA MPO
